              Case 2:11-cr-00296-WBS Document 155 Filed 01/15/14 Page 1 of 2



 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Moctezuma Tovar
 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                               )
     UNITED STATES OF AMERICA,                   )
 9                                               )   Case No.: 2:11-cr-00296-WBS
                    Plaintiff,                   )
10                                               )   STIPULATION AND [PROPOSED]
             vs.                                 )   ORDER FOR MODIFICATION OF
11                                               )   CONDITIONS OF RELEASE FOR
                                                 )   MOCTEZUMA TOVAR AND MANUEL
12   MOCTEZUMA TOVAR, et al.,                    )   HERRERA
                                                 )
13                  Defendants.                  )
                                                 )
14                                               )
15
16           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   conditions of release for Moctezuma Tovar and Manuel Herrera are modified and include
18   an additional condition of release. Both Mr. Tovar and Mr. Herrera should have the
19   following condition added to the release conditions: Mr. Tovar and Mr. Herrera shall not
20   have any contact outside the presence of counsel except as it relates to the home Mr.
21   Tovar is renting from Mr. Herrera. Mr. Herrera’s and Mr. Tovar’s conversation and
22   communication should only relate to the home Mr. Tovar is renting.
23           Lee Bickley, Assistant United States Attorney, and Thomas A. Johnson, attorney
24   for Moctezuma Tovar, and John Manning, attorney for Manuel Herrera, agree to this
25   additional condition of release. All other previously ordered conditions of release remain
26   in full force and effect.
27   /////
28   /////


                                                                                             -1–
            Case 2:11-cr-00296-WBS Document 155 Filed 01/15/14 Page 2 of 2



 1   IT IS SO STIPULATED.
 2
 3   Dated: January 6, 2014                        /s/ Thomas A. Johnson
                                                   THOMAS A. JOHNSON
 4                                                 Attorney for Moctezuma Tovar
 5
     Dated: January 6, 2014                        /s/ Thomas A. Johnson for
 6                                                 JOHN R. MANNING
                                                   Attorney for Manuel Herrera
 7
 8                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
 9
10   Dated: January 6, 2014                        /s/ Thomas A. Johnson for
                                                   LEE BICKLEY
11                                                 Assistant U.S. Attorney
12
13                                     ORDER
14
15   IT IS SO FOUND AND ORDERED.
16
     DATED: January 14, 2014.
17
18
19
20
21
22
23
24
25
26
27
28


                                                                                 -2–
